1 IN THE UNITED STATES DISTRICT COURT

2 FOR THE EASTERN DISTRICT OF TENNESSEE

4 HANNAH ASHBROOK,
5 Plaintiff,

6 Vv. No. 1:24-CV-00165-CLC-SKL

7 METGS COUNTY, TENNESSEE,
ET AL,

ee a a a

Defendants.

October 14th, 2024
11 Decatur, Tennessee

13 DEPOSITION OF CAROL PETITT

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1 A. I'm a misdemeanor probation officer,

2 slash, youth officer.

3 0% So are you employed by Meigs County,

4 Tennessee?

5 A. Yes.

6 Q. How long have you been employed by Meigs

7 County?

8 A. Thirty-three years.

9 Q. In what capacities?

10 A. In that capacity.

11 Q. Okay.

12 A. I also teach domestic violence classes.

13 Q. So you served as a youth services officer.
14 A. Yes.

15 Q. With the juvenile department.

16 A. Yes.

17 Q. And how did you come to be involved with

18 the misdemeanor probation program?

19 A. Well, I was already a youth officer and
20 this job came up and I applied for it with the judge --
21 I've had three judges -- with the judge I was working for

22 at that time he appointed me.

23 Q. And who was that?
24 A. Christopher Gott, G-o-t-t, Gott.
25 Q. And you continued in that role through

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1 Q. Okay. And is part of your job then the

2 collection of court costs --

3 A. Yes.

4 Q. -- and fines?

5 A. Yes. Yes, yes.

6 Q. Okay. How long can people be on

7) misdemeanor probation?

8 A. 11/29.

9 Q. Do they have to pay a probation fee?

10 A. Yes.

11 Q. How much is that?

12 A. Ten dollars a week.

13 Q. For as long as they're on probation.

14 A. No. In my office, I know in some counties

15 they pay that all the way through, but in my office when

16 you have paid completely off, when your court costs and

17 fines are paid and you have no more -- and you've done your
18 jail time and you've done your assessment, when you've

19 done all the things the judge says then you're still on

20 probation but you no longer have to pay that ten dollars a
21 week.

22 Q. Okay. Are drug tests part of the

23 probation rules?

24 A. Yes.

25 Q. And for who do those apply?

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talking 33 years here. I don't think so.
Q. Have you ever been provided any
literature or information about how frequently the test

gives an erroneous result?

A. It's not much. I have, but it's not
much.

Q. What information have you been provided?

A. I don't remember. I'm thinking there's
something on my -- I don't know, I don't know.

Q. All right. Well, we're here today

talking about a young lady named Hannah Ashbrook.

A. Yes.
Q. Do you remember Ms. Ashbrook?
A. Yes, but only because she's the only

person I ever had who did what they did. You can ask me
about anybody I've given drug tests to and I don't remember
it, but this one I do because of what happened.

Q. And what is that?

A. When I had done the drug test and told
her what she was positive for she literally slid down the
Side of the wall onto the floor with her dress up and made
no attempt to cover herself.

Q. What was she wearing underneath her
dress?

A. She had on underwear I think, but I don't

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remember what color it was. I don't know. I remember

just her dress went up.

Q. Okay.
A. And she didn't attempt to cover herself.
Q. Well, how did you come to be administering

a drug test to Ms. Ashbrook?

A. I was told to by the judge. The officer
came out and said, The judge wants you to drug test her.
And I said, Well, you know, done it a thousand times,
sure.

Q. Okay. So you weren't provided any
information about why.

A. I didn't have to have any information.

No, I wasn't. The judge just wanted her drug tested.

Q. And the judge didn't talk to you
personally.

A. Never does about that, no.

Q. An officer came out --

A. Well, sometimes he might. He might tell

me he wants a drug test done. An officer came out, yes.
Q. And so you don't ask any questions about
why you're doing this.
A. No. No. No.
Q. Okay. And so you took Ms. Ashbrook into

the bathroom?

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A. Yes.
Q. Was there an officer assisting you?
A. No. There was an officer with me. He

did not go into the restroom.
O« Would he have stood at the door?
A. He could have stood outside the door.

I'm sure he was there somewhere, but he didn't go in the

door.

Q. Would he have held the door open?

A. I don't remember him holding the door
open.

Q. So that he could watch you to make sure

you're okay?

A. No. He would have listened for me. No,
I would have screamed or something. But I -- no, no.
Q. Okay. Do you remember what officer came

to the door?

A. I think it was Doyle. That's how I know
him.

Q. Okay.

A. I think it was Doyle again.

Q. Do you remember your conversation with

Ms. Ashbrook in the restroom?
A. No, I do not. Usually there may be a
little chitchat going on, but, no, I do not.

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back to my work. I rarely know what happens to them
after unless I maybe know them or something would ask.

So, no.

MR. CHANCERY: Pass the witness.

MR. KNIGHT: I don't have any. I guess

you're over.

THE WITNESS: Oh, I'm through?

MR. ROGERS: I've got just a couple for

you, Ms. Petitt.

THE WITNESS: Oh, okay, fine.

EXAMINATION

BY MR. ROGERS:

QO. You've been here since I started

practicing law, haven't you?

A. Yes, I have.

Q. You said you've been doing this for 33
years.

A. Thirty-three years.

Q. Okay. And so you've worked not only

while Judge Stokes has been the elected official but other

judges. Is that correct?
A. Judge Gott, Judge Crowley.
Q. Judge Gott, Judge Crowley. Did you do

the similar type of service for the courts under --
A. I didn't do the similar; I did the same.

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il Q. Okay.
2 A. Thirty-three years all three judges.
3 Q. Did you drug test people under Judge

4 Crowley?

5 A. Yes.

6 Q. And Judge Gott?

7 A. Definitely.

8 Q. You say definitely. Did Mr. Gott did he

9 ask for more drug tests than the other two judges?

10 A. Well, he was -- I'm not going to say he
11 did. That was a long time ago too. But we did drug test,
12 yes.

13 Q. Did you react differently to any request

14 from those judges?

15 A. Not a one. Not a one. It was part of my
16/ Job.
17 Q. Okay. If law enforcement comes to you

18 and indicates that a judge wants somebody checked out to
19 you does that mean drug test them?

20 A. No. What do you mean, checked out?

21 Q. Well, if they came to you with somebody
22 and said, Hey, the judge wants this person checked --

23 A. They wouldn't say checked. They would
2A say, The judge wants a drug test. They wouldn't say

25 checked.

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1 Q. Okay. And as far as you know, Judge
2 Stokes didn't ask you specifically to drug test Ms.

a Ashbrook. You got relayed that information through a --

4 A. Yes. Through an officer.

5 Q. Through an officer?

6 A. Yeah. As I always do.

7 Q. That's usually the case --

8 A. Yes.

9 Q. -- when that happens. And was it the

10 case under the predecessor judges?

11 A. Yes.
12 Q. Okay.
13 A. Let me just reinforce this, if I may.

14 This drug test was no different than I had done for 33

15 years, by all three judges, by any person I was told to
16 do. I never asked questions. It's not mine to ask the
ake question. It's mine to -- what am I going to do? say, No
18 I think the judge is wrong; I don't think you need to be
19 here? I'm not going to do that. He, or they that I've
20 had in the past, say they want it done and I do it. It's
21 simple.

22 Q. Because that's kind of the rank in

23 command here at the courthouse, isn't it?

24 A. Oh, it is the rank where I am. I work

25 for him. He doesn't work for me.

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1 Q. All right. Did you consider yourself a
2 servant of the court under all the other judges as well?
3 A. Yeah. I'm no different now than I ever
4 was. Absolutely. All the duties are the same. I'm

5 telling you there's no difference in any of it.

6 Q. This may seem silly. If Casey Stokes

7 wasn't the judge and he asked you to drug test somebody
8 would you drug test them?

9 A. Are you kidding me? For what? I would
10 say, Who are you? No.

11 Q. Is the only reason you drug tested

12 Ms. Ashbrook because you understood the orders to come

13] from the judge?

14 A. And it did, yes. Well, no, I got it that
15 it did.
iG Q. Sure. You understood that it came from

17 the judge.

18 A. Oh, I did, yes. Yes.

19 Q. Because if it came from somebody else

20 that wasn't a judge you wouldn't had an obligation to do
21 it. Would that be fair?

22 A. Oh, I wouldn't have done it. This is the
23 only drug test I have ever done are for a judge.

24 MR. ROGERS: That's all. Thank you.

25 THE WITNESS: You're welcome.

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